Exhibit

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USDA

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United States Department of Agriculture

Farm
Production and
Conservation

Farm
Service
Agency

Farm Loan
Programs

Stop 0520

1400
Independence
Avenue, SW

~ Washington, DC
20250-0520

Voice: 202-720-4671
Fax: 202-692-4106

Case 3:23-cv-00340

February 8, 2024 21314

COREY LEA INCORPORATED
PO BOX 422
ARRINGTON, TN 37014-0422

Dear Borrower,

On August 16, 2022, the Inflation Reduction Act of 2022 (IRA) was signed into law
by President Joseph Biden. Section 22006 of the IRA includes provisions for the
Farm Service Agency (FSA) to provide relief in the form of payments and/or loan
modifications to distressed direct and guaranteed Farm Loan Programs (FLP)
borrowers.

In October 2022, you were notified that $228,083.86 was being credited to your FLP
direct loan account. However, the final amount for which your loans were eligible is
$386,098.87. If you are in bankruptcy or have been discharged of the debt, this
informational notice is not an attempt to collect or recover the discharged debt as
your personal liability.

You will receive IRS Form 1099-C, Cancellation of Debt, reporting the corrected
payment amount. Depending on your circumstances, the IRA payment reported on
your Form 1099-C may be excluded from your income. Please consult a tax
professional with all tax-related questions related to the IRA assistance you received.

We hope that you find this information helpful, and we encourage you to visit
www.farmers.gov/InflationReductionAct for additional information such as
Frequently Asked Questions and other background information about IRA loan
payments that may be helpful. You may also contact your local FSA County Office
or a centralized call center (877-508-8364) from 8:00 am to 7:00 pm, EST to reach
FSA employees who can assist with general questions.

Sincerely,

Ste Naelhenennre

Zach Ducheneaux
Administrator
Farm Service Agency

USDA is an equal opportunity provider, employer, and lender.

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